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                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND
                  RYAN DILLON-CAPPS
                                                                          Civil Action

                                           Plaintiff,                     No. _____________________________
                  vs.

                  OHANA GROWTH PARTNERS, LLC et al                        Hon. ____________________________


                                         Defendants


                     MEMORANDUM OF LAW IN SUPPORT OF THE INTERLOCUTORY PARTIAL SUMMARY
                                                JUDGEMENT

                  Plaintiff incorporates all subsequent sections and attachments herein by
                           reference as though fully stated in this main document.
                 1      Reminder “Defendants” in our pleading judgements contextually applies to those who

                 had opportunities to respond. This is everyone, including the state of Maryland, except Romes,

                 Levett, Bernstein, and DeGonia II.


                                       FED. R. CIV. P. 55(A) & (B) – DEFAULT JUDGMENTS

                 Rule 55(a) allows for default entry when a party fails to plead or defend.

                 Rule 55(b) authorizes the court to issue a judgment on default, particularly where damages are

                 supported by clear evidence.

                 2      Ohana M&S, Clerk, and Ruling Judges failed to address prior filings and through their

                 violation of the Plaintiff rights they simultaneously failed to engage in the procedural

                 requirements under Rule 55 and warrants default judgement.




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                                                    A Willful or Gross Negligence

                 3      The intentional actions of Ohana, M&S, Clerk, Ruling Judges, bar counsel, and the

                 director constitute willful and gross negligence, warranting the entry of a default judgment. In

                 Hritz v. Woma Corp., 732 F.2d 1178 (3d Cir. 1984), the Third Circuit emphasized that while

                 defaults are generally disfavored, a default judgment is appropriate when a party's conduct is

                 culpable, defined as willful or in bad faith. Similarly, in Shepard Claims Service, Inc. v. William

                 Darrah & Associates, 796 F.2d 190 (6th Cir. 1986), the Sixth Circuit held that a default

                 judgment is justified when the defendant's actions display a reckless disregard for the judicial

                 proceedings. Furthermore, in DirecTV, Inc. v. Hoa Huynh, 503 F.3d 847 (9th Cir. 2007), the

                 Ninth Circuit recognized that egregious or intentional misconduct justifies severe sanctions,

                 including default judgment. Therefore, the deliberate misconduct by the aforementioned

                 individuals meets the threshold for willful and gross negligence, justifying the imposition of a

                 default judgment.


                            B Bad faith Conduct, Improper Purpose, and Now Lacking a valid defense

                 The Defendants' prior bad faith conduct, improper purpose, and lack of a valid defense justify the

                 court's discretion to grant default judgment. In SEC v. Wencke, 577 F.2d 619 (9th Cir. 1978),

                 the Ninth Circuit recognized that a court’s equitable authority allows it to take necessary

                 measures to ensure justice, including halting improper conduct that undermines the integrity of

                 litigation. Similarly, in Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court

                 upheld the principle that courts have the inherent authority to issue sanctions, including default

                 judgment, to deter further abuse of the judicial process when a party’s actions are conducted in

                 bad faith or lack proper purpose. Allowing these issues to proceed further would not only lack

                 justification but would also enable additional sanctions resulting from improper filings. To




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                 preserve the integrity of the judicial process and to protect the parties involved—even the

                 Defendants themselves—the court should exercise its discretion and grant default judgment.


                                                 C Material Fact by Tier of Evidence

                 4       The allegations presented by RDC are substantiated by the tier of fact and are now ready

                 to be deemed adjudicated facts through default judgment. In Nishimatsu Construction Co. v.

                 Houston National Bank, 515 F.2d 1200 (5th Cir. 1975), the Fifth Circuit held that default

                 judgment operates as an admission of the well-pleaded allegations of fact in the complaint,

                 except for those relating to the amount of damages. The court emphasized that once a defendant

                 defaults, the factual allegations that are legally sufficient to state a claim are accepted as true.

                 Consequently, any interference regarding the admission of evidence does not alter the reality

                 established by the tier of fact. Thus, RDC's allegations have reached the threshold necessary for

                 adjudication and justify entry of default judgment.


                                                      D Non-Excusable Neglect

                 The court's record is replete with evidence of prejudice caused by the deliberate actions of

                 Ohana, M&S, the Clerk, and Ruling Judges, who weaponized procedural delays to inflict harm

                 and engaged in abuse of process to obstruct the plaintiff’s access to relief while shielding

                 themselves and their co-conspirators from accountability. In Pioneer Investment Services Co. v.

                 Brunswick Associates Ltd. Partnership, 507 U.S. 380 (1993), the Supreme Court clarified the

                 standard for excusable neglect, emphasizing that such neglect is determined by weighing factors

                 like the prejudice to the opposing party, the reason for the delay, and whether the conduct was

                 within the reasonable control of the party responsible. Here, the defendants’ actions do not

                 qualify as excusable but rather constitute willful and intentional misconduct designed to

                 undermine the judicial process. Their conduct amounts to non-excusable neglect, warranting




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                 immediate procedural judgment to prevent further harm and to uphold the integrity of the legal

                 system.


                                                      E Procedural Admissions

                 5      The procedural admissions discussed in Taylor v. City of Ballwin, 859 F.2d 1330 (8th Cir.

                 1988), enable resolution of this case under Fed. R. Civ. P. 55, as the Defendants have failed to

                 rebut allegations or present any material defense. Richard Hartman’s affidavit admitting to

                 suspending Dillon-Capps’ FMLA rights constitutes a direct admission of liability under federal

                 law. Similarly, the Defendants’ collective failure to respond meaningfully or engage with the

                 litigation process amounts to procedural default. These uncontested admissions conclusively

                 establish liability, leaving no issues for trial. Therefore, default judgment is warranted under

                 Rule 55(a) and (b) to resolve the case efficiently and fairly.


                               F Inherent Authority to Prevent Abuse and Deter Bad Faith Practices

                 6      In Chambers v. NASCO, Inc., 501 U.S. 32 (1991), the Supreme Court affirmed that courts

                 possess inherent authority to impose sanctions, including default judgments, to deter and address

                 bad faith litigation practices. This principle applies here as the Defendants have engaged in a

                 pattern of misconduct, including procedural abuses, baseless filings, and failure to present

                 legitimate defenses, all designed to delay and obstruct justice. The court’s inherent authority

                 empowers it to impose default judgment as a corrective measure to preserve judicial integrity and

                 deter further abuse of the legal process.


                                 G Negligence or Willful Misconduct Warrants Default Judgment

                 7      In Hritz v. Woma Corp., 732 F.2d 1178 (3d Cir. 1984), the Third Circuit held that willful

                 misconduct or negligence in litigation, including failure to respond or defend, supports default




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                 judgment as an appropriate procedural remedy. Default judgment is particularly justified when a

                 party’s actions demonstrate intentional disregard for the judicial process or reckless indifference

                 to procedural obligations.

                 8      Here, the Defendants’ conduct—characterized by their willful procedural delays, refusal

                 to engage meaningfully in the litigation, and failure to rebut critical allegations—amounts to

                 either negligence or willful misconduct. These actions have obstructed the fair and efficient

                 resolution of the case, leaving no alternative but to impose default judgment to address the

                 Defendants’ procedural failures and uphold the integrity of the judicial process.


                                          FED. R. CIV. P. 56(A) - SUMMARY JUDGEMENT

                 9      The Plaintiff’s filing and the circuit court record clearly establishes there is no genuine

                 dispute of material fact on numerous counts against Ohana, M&S, clerk, and the Ruling Judges,

                 and the Plaintiff is entitled to judgement as a matter of law.


                                        A Procedural Failures and Overwhelming Evidence

                 10     Under Fed. R. Civ. P. 56(a), summary judgment is warranted where there is no genuine

                 dispute as to any material fact and the movant is entitled to judgment as a matter of law. In

                 Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986), the Supreme Court held that a trial is

                 unnecessary where the evidence overwhelmingly supports one side, as courts are not required to

                 allow a trial on issues devoid of genuine dispute. Here, the procedural failures and the

                 overwhelming evidence in favor of the plaintiff demonstrate that the defendants lack any

                 legitimate evidence or defense. Their conduct lacks even a shred of legitimacy, and this is not a

                 case involving merely colorable evidence. Accordingly, the court should grant summary

                 judgment to avoid prolonging proceedings on baseless claims.




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                                       B Failure to Rebut Claims or Raise Material Disputes

                 11     In Celotex Corp. v. Catrett, 477 U.S. 317 (1986), the Supreme Court held that summary

                 judgment is appropriate when the non-moving party fails to produce evidence that contests the

                 moving party’s evidence on material facts. In this case, the defendants—Ohana Growth Partners,

                 M&S, Richard Hartman, and the Ruling Judges—have failed to rebut the plaintiff's evidence or

                 provide any material evidence in their defense. Over five months, the defendants have relied on

                 procedural delays and unsupported assertions rather than presenting substantive evidence to

                 challenge the claims against them.

                 12     Notably, Richard Hartman’s affidavit admits to suspending Dillon-Capps’ FMLA rights,

                 corroborating the allegations of unlawful conduct. The defendants’ inability to produce counter-

                 evidence confirms that no genuine dispute of material fact exists. Under the standard articulated

                 in Celotex, the unrebutted evidence presented by the plaintiff establishes liability and warrants

                 summary judgment as a matter of law.


                                     C Speculation and Procedural Maneuvers Are Insufficient

                 13     Under Fed. R. Civ. P. 56(a), summary judgment is appropriate when the non-moving

                 party fails to present sufficient evidence to support its claims beyond mere speculation or

                 conjecture. In Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986), the

                 Supreme Court held that a party opposing summary judgment must provide more than

                 speculative theories or procedural tactics; it must present concrete evidence creating a genuine

                 issue of material fact. Here, the defendants' reliance on speculation and procedural maneuvers

                 rather than addressing the substantive claims against them underscores their inability to contest

                 the material allegations. Their failure to produce any legitimate evidence to counter the plaintiff's

                 claims further demonstrates that summary judgment is warranted in this case.




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                                                D Failure to Contest Procedural Facts

                 14     In Heath v. F/V Zolotoi, 221 F.3d 1348 (9th Cir. 2000), the Ninth Circuit held that a

                 failure to contest key procedural facts results in the acceptance of those facts, enabling judgment

                 without the need for further proceedings. Here, the Defendants—including all parties who had

                 opportunities to respond—have failed to contest the procedural and material facts presented. This

                 failure to engage substantiates the allegations, making the facts procedurally and substantively

                 binding.

                 15     Over the course of five months, the Defendants had ample opportunity to rebut the

                 plaintiff’s claims, produce evidence, or respond to motions. Their refusal to do so, combined

                 with procedural admissions such as Richard Hartman’s affidavit acknowledging a violation of

                 FMLA rights, conclusively establishes the material facts of liability. Under the principle

                 established in Heath, this failure to contest key procedural facts necessitates judgment without

                 further litigation, as no valid disputes remain to be adjudicated.


                                 E Speculation and Conjecture Cannot Defeat Summary Judgment

                 16     In Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986), the Supreme

                 Court held that speculation and conjecture are insufficient to defeat summary judgment when

                 material facts remain unchallenged. Here, the Defendants have relied on speculative arguments

                 and procedural maneuvers rather than presenting substantive evidence to dispute the material

                 facts of the case. The unchallenged evidence establishes liability, and the Defendants’ failure to

                 provide concrete evidence in opposition precludes any genuine dispute of material fact. Under

                 the standard set forth in Matsushita, summary judgment is warranted to resolve the uncontested

                 claims efficiently.




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                                F Judicial Economy: Resolving Uncontested Matters Without Trial

                 17     In United States v. Procter & Gamble Co., 356 U.S. 677 (1958), the Supreme Court

                 emphasized the importance of conserving judicial resources by resolving uncontested or clear-

                 cut matters procedurally, without resorting to unnecessary trials. Here, the Defendants have

                 failed to contest material facts or present evidence rebutting the claims against them. Allowing

                 the case to proceed to trial would waste judicial resources when the outcome is already evident

                 based on the established facts and procedural admissions. In line with the principle of judicial

                 economy articulated in Procter & Gamble, summary judgment is appropriate to efficiently

                 resolve the uncontested issues and prevent further unnecessary litigation.

                 18


                                                       FED R. CIV. P. 1 (FRCP 1)

                 19     Under Fed. R. Civ. P. 1, the Federal Rules of Civil Procedure are designed to ensure the

                 “just, speedy, and inexpensive determination of every action and proceeding.” This rule obligates

                 both the judiciary and litigants to adhere to procedural requirements while safeguarding against

                 overreach or unnecessary delays. Procedural fairness and adherence to jurisdictional limits are

                 paramount, particularly when federal statutes preempt state court authority.

                 20     In Foman v. Davis, 371 U.S. 178 (1962), the Supreme Court highlighted the necessity of

                 procedural compliance to ensure fairness and judicial efficiency. Non-compliance that

                 undermines these principles—whether by litigants or courts—requires corrective action to

                 preserve the integrity of the judicial process.

                 21     Here, the state court's adjudication of claims involving Family and Medical Leave Act

                 (FMLA) violations and related ADA accommodations directly violated the Norris-LaGuardia

                 Act (NLA). The NLA prohibits state courts from issuing injunctions or interfering in cases




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                 involving labor disputes and federally protected employment rights. By issuing ex parte

                 restraining orders, combining preliminary injunction hearings with civil contempt proceedings,

                 and imposing punitive fines of $2,500 per day, the state court exceeded its jurisdiction and

                 contravened the NLA’s prohibition on such actions.

                 22     Furthermore, Defendant Richard Hartman, head of Human Resources for Ohana Growth

                 Partners, explicitly admitted in his affidavit that Dillon-Capps’ requests for FMLA leave

                 triggered retaliatory actions. These admissions, coupled with the employer’s documented

                 violations of ADA accommodation requirements as affirmed in Cehrs v. Northeast Ohio

                 Alzheimer’s Research Center, 155 F.3d 775 (6th Cir. 1998), establish that federal jurisdiction

                 should have been invoked. The state court’s refusal to relinquish jurisdiction, despite explicit

                 challenges, constitutes a fundamental overreach and renders its rulings void ab initio.

                 23     This jurisdictional failure underscores the necessity for corrective measures under Fed.

                 R. Civ. P. 55(a) and (b) or Fed. R. Civ. P. 56(a). Recognizing the jurisdictional violations and

                 procedural abuses, this Court has a duty to realign the proceedings with FRCP 1’s mandate for

                 fairness and efficiency. Default judgment or summary judgment is warranted to rectify the harm

                 caused by the state court’s improper assertions of jurisdiction and ensure the just resolution of

                 this matter.


                                                     PROCEDURAL ADMISSIONS

                                        G Failure to Deny Allegations - Fed R. Civ. P 8(b)(6)

                 Rules Applicable:
                       1.     Rule 8(b)(6) governs the admission of allegations due to a failure to deny.

                        2.       FRCP 1 is also applicable because it supports procedural efficiency, which

                        includes treating uncontested allegations as admissions to avoid unnecessary litigation.




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                        3.       Rule 56(a) does not directly apply to this argument because failure to deny is

                        more closely tied to procedural default rather than a lack of evidence for trial.

                 24     In his affidavit, Richard Hartman explicitly admitted to violating Dillon-Capps’ Family

                 and Medical Leave Act (FMLA) rights, including suspending them improperly. These

                 admissions, combined with the Defendants’ failure to deny the allegations in their responsive

                 pleadings, operate as binding admissions under Fed. R. Civ. P. 8(b)(6). Failure to deny is treated

                 as an admission of liability, leaving no material facts in dispute.

                 25     Hartman’s admissions not only confirm violations of the FMLA but also support liability

                 under the Americans with Disabilities Act (ADA) for failure to provide reasonable

                 accommodations. The Defendants’ inaction and procedural non-responsiveness solidify these

                 claims as unchallenged, justifying default judgment under Fed. R. Civ. P. 55(a) and (b).


                                    H Procedural Evasion of Discovery - Fed R. Civ. P. 36(a)(3)

                 Rules Applicable:

                        1.       Rule 36(a)(3) governs admissions resulting from unanswered discovery requests.

                        2.       Rule 56(a) applies here because the procedural admissions from discovery create

                        an evidentiary basis for summary judgment.

                        3.       FRCP 1 supports this argument by emphasizing the importance of avoiding

                        delays caused by non-compliance with discovery obligations.

                 26     The Defendants have procedurally evaded discovery by failing to respond to requests for

                 admissions, including those critical to the material facts of this case. Under Fed. R. Civ. P.

                 36(a)(3), a failure to respond within 30 days results in automatic admission of the requested

                 facts, which become binding and eliminate the need to prove those facts at trial. These

                 procedural admissions conclusively establish liability and preclude further dispute.




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                 27     This conduct mirrors the behavior addressed in American Auto. Ass’n v. AAA Legal

                 Clinic, 930 F.2d 1117 (5th Cir. 1991), where the Fifth Circuit held that such failures to respond

                 to discovery eliminate the need to prove the admitted facts, as they are treated as binding. Here,

                 the procedural admissions include Richard Hartman’s failure to rebut key allegations, as well as

                 the broader non-compliance by Ohana Growth Partners, M&S, and the Ruling Judges. Their non-

                 responsiveness effectively concedes liability on the contested issues.

                 28     The Defendants’ evasion not only undermines judicial efficiency but also prejudices the

                 Plaintiff’s ability to seek timely and fair resolution. As emphasized in American Auto. Ass’n,

                 discovery rules are designed to prevent such obstruction. These uncontested admissions, coupled

                 with the Defendants’ lack of substantive rebuttal or evidence, leave no genuine dispute of

                 material fact. Consequently, summary judgment is warranted under Fed. R. Civ. P. 56(a) to

                 resolve the admitted claims and prevent further delay or abuse of the judicial process.


                                                         FED R. CIV. P. 8(B)(6)

                                                      A Admissions in Pleadings

                 29     The doctrine of admissions, as articulated in Hill v. Smith, 260 U.S. 592 (1923),

                 establishes that when a party admits allegations in pleadings or fails to contest them, those

                 admissions conclusively determine the facts and eliminate the need for further evidentiary

                 proceedings. This principle applies here as the defendants, including Ohana Growth Partners and

                 Richard Hartman, have either expressly admitted or failed to contest critical allegations, such as

                 the violation of Dillon-Capps' FMLA rights. Hartman’s affidavit admitting to suspending FMLA

                 rights is a binding admission under this doctrine. Coupled with the defendants’ failure to produce

                 any rebuttal or contrary evidence, the allegations stand unchallenged. Under the doctrine of

                 admissions, these uncontested facts justify immediate judgment without further litigation. This




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                 aligns with the court’s authority to resolve disputes efficiently when liability is conclusively

                 established by admissions.

                 30      In his affidavit, Richard Hartman explicitly admitted to violating Dillon-Capps’ Family

                 and Medical Leave Act (FMLA) rights, including suspending them improperly. This admission

                 not only establishes a clear violation of the FMLA but also supports the claim under the

                 Americans with Disabilities Act (ADA) Title I for failure to provide reasonable

                 accommodations. The suspension of FMLA leave, tied to Dillon-Capps’ medical condition,

                 demonstrates Hartman’s disregard for both statutes' protections. These admissions, which are

                 uncontested, establish liability under both the FMLA and ADA, rendering these counts

                 appropriate for default judgment under Fed. R. Civ. P. 55(a) and 55(b).


                                     B Uncontested Allegations Support Procedural Judgment

                 31      In D.H. Overmyer Co. v. Frick Co., 405 U.S. 174 (1972), the Supreme Court held that

                 allegations which remain uncontested due to an unresponsive pleading can serve as the basis for

                 procedural rulings, including default or summary judgment. Rule 8(b)(6) provides that

                 allegations not denied in a responsive pleading are deemed admitted.

                 32      Here, the Defendants failed to contest critical allegations through proper pleadings,

                 effectively admitting liability. These uncontested allegations provide the factual foundation for

                 default or summary judgment under D.H. Overmyer, as no further evidence or proceedings are

                 necessary to establish liability.


                                         C Non-Responsive Pleadings Result in Admissions

                 33      In Conley v. Gibson, 355 U.S. 41 (1957), the Supreme Court emphasized that a complaint

                 must give the defendant fair notice of the claims against them and the grounds on which those




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                 claims rest. Failure to respond adequately to a pleading result in the plaintiff’s assertions being

                 deemed admitted under Rule 8(b)(6).

                 34     In this case, the Defendants’ failure to file proper responses constitutes non-

                 responsiveness under Rule 8(b)(6). This procedural lapse results in the admission of the

                 Plaintiff’s well-pleaded allegations, supporting default judgment. The admitted facts provide a

                 sufficient basis for judgment without further proceedings, in accordance with Conley v. Gibson.




                                                       D Procedural Admissions

                 35     In Taylor v. City of Ballwin, 859 F.2d 1330 (8th Cir. 1988), the Eighth Circuit held that

                 procedural admissions are binding and enable courts to resolve cases without trial. Here, the

                 defendants—Ohana Growth Partners, M&S, Richard Hartman, and the Ruling Judges—have

                 made procedural admissions through their affidavits, filings, and inaction, which conclusively

                 establish liability. Richard Hartman’s affidavit, for example, admits to suspending Dillon-Capps’

                 FMLA rights, an act that constitutes a violation of federal law. Moreover, the defendants’ failure

                 to rebut the allegations or present material evidence effectively admits the truth of the claims

                 under the doctrine of procedural admissions. These admissions, coupled with the absence of any

                 valid defense, obviate the need for a trial and mandate resolution of the case through default

                 judgment.


                                                           E Failure to Defend

                 36     In Nishimatsu Construction Co. v. Houston National Bank, 515 F.2d 1200 (5th Cir.

                 1975), the Fifth Circuit held that a defendant’s failure to plead or otherwise defend constitutes an

                 admission of the allegations in the complaint, warranting default judgment. Similarly, under Fed.

                 R. Civ. P. 8(b)(6), allegations not denied in a required responsive pleading are deemed admitted.




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                 Here, the defendants—Ohana Growth Partners, M&S, Richard Hartman, and the Ruling

                 Judges—have repeatedly failed to deny or defend against the plaintiff's claims.

                 37     Despite being notified of the plaintiff's intent to seek judgment and having over five

                 months to respond, the defendants have failed to present any legitimate rebuttal or evidence.

                 Richard Hartman, in particular, explicitly admitted in his affidavit to suspending Dillon-Capps’

                 FMLA rights, a clear violation of federal law. The Ruling Judges also had multiple opportunities

                 to address the procedural abuses and violations raised but failed to take corrective action,

                 compounding the harm to the plaintiff and demonstrating an abdication of their duties.

                 38     The defendants’ collective failure to deny allegations or engage meaningfully in the

                 litigation operates as an admission of liability under Rule 8(b)(6) and the doctrine articulated in

                 Nishimatsu. These uncontested allegations conclusively establish liability and warrant default

                 judgment to resolve the claims efficiently and uphold the integrity of the judicial process.


                                                    RESPECTFULLY SUBMITTED

                  December 24, 2024                          Ryan Dillon-       Digitally signed by Ryan
                                                                                Dillon-Capps
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                                       Ryan Dillon-Capps                                                    703-303-1113




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